
STEINBERG, Judge,
dissenting:
I voted to grant full Court reconsideration in this case, for the reasons stated in my dissent to the June 21, 2001, en banc opinion, Carpenter v. Principi, 15 Vet.App. 64, 79 (2001) (Steinberg, J., concurring in part and dissenting in part), except for part II.C.l., regarding the Court’s jurisdiction in terms of the failure to discuss section 402 of the Veterans’ Judicial Review Act, Pub.L. No. 100-687, § 402, 102 Stat. 4105, 4122 (1988) [hereinafter VJRA § 402], which has been repealed by the Veterans Education and Benefits Expansion Act of 2001, Pub.L. No. 107-103, § 603(a), 115 Stat. 976, 999; see also id. at § 603(d) (making repeal of VJRA § 402 applicable to all pending and subsequent claims). I therefore respectfully dissent.
